     Case 7:21-cv-02777-VB Document 13-5 Filed 06/11/21 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT NEW YORK


CHARON COINS, LLC,

            Plaintiff,
    v.
                                    Civil Action No. 7:21-cv-2777
SONEA GRIFFITHS,

            Defendant.


                MEMORANDUM OF LAW IN SUPPORT OF
            PLAINTIFF’S MOTION TO ATTACH DEFENDANT’S
         BANK ACCOUNTS OR FOR A PRELIMINARY INJUNCTION

                            EXHIBIT D
           Case 7:21-cv-02777-VB Document 13-5 Filed 06/11/21 Page 2 of 2


From:                 Jackson Kerr
To:                   Steve Oster
Cc:                   Lewis Tesser
Subject:              Charon Coins, LLC v. Sonea Griffiths - 21-cv-02777 - Adjournment
Date:                 Tuesday, May 11, 2021 10:22:17 AM



HI Steve,

I just left a voicemail on your cell phone. As I explained in the voicemail, Tesser Ryan has been
retained by Ms. Griffith to review the complaint filed by Charon Coins, LLC and provide an
analysis of her options moving forward. We have not been retained to appear in the lawsuit.

In order for us to have time to perform our due diligence and provide Ms. Griffiths with the
proper analysis, we would ask for an adjournment of her time to answer for 30 days. If this
alright with you, please let me know, and I can put a stip together to be signed and filed.

Please feel free to reach out if you have any questions or concerns.

Best,
Jackson

Jackson Kerr
Pending Admission to New York State Bar
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White Plains, New York 10603
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Thank you.
